Py

Case “yi Document 1 Filed 09/11/23 Page 1 of 13
o™

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

CIVIL COMPLAINT

‘Warew WCC Ro

(Write the full name of each Plaintiff
who is filing this complaint. If the
names of all the plaintiffs cannot fit
in the space above, please write

“see attached” in the space and
attach an additional page with the

full list of names.) -

v. Case No.: P'23-w- OO Yb — fl a ke
(To be filled in by the Clerk’s Office)

Floaba Shale.
_ . Jury Trial Requested?
Yoauck ye Wantstabiis Oo YES ano

(Write the full name of each Defendant
who is being sued. If the names of all
the Defendants cannot fit in the space
above, please write “see attached” in
the space and attach an additional
page with the full list of names.)

NDEL Pro Se 1 (Rev. 12/16) Civil Complaint 1
ClerkAdmin/Official/Forms
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page2of13

L. PARTIES TO THIS COMPLAINT

A. Plaintiff(s)
1. Plaintiff’s Name: \ Guin (NEC RY
Address: \Y ALY \a DShyeed

City, State, and Zip Code: (\)PPY \ - 47)Hd\

Telephone: (Home) ‘Wwh\- Wd-0%4 (Cell)
2. Plaintiffs Name: Wh
Address:

City, State, and Zip Code:

Telephone: (Home) (Cell)

(Provide this information for any additional Plaintiffs in this case by
attaching an additional page as needed.)

B. Defendant(s)

1, Defendant’s Name: \ oh\e { {\\ ody

Name of Employer (if relevant): _\-\ox ihe rae
Address: P\- ©\ \\e. Cop ko\

City, State, and Zip Code: Va\\aly one C\ 303 44- (Dey

NDFL Pro Se 1 (Rev. 12/16) Civil Complaint 2
ClerkAdmin/Official Forms
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page3of13

r

2. Defendant’s Name: \_« iy \ a le

Name of Employer (ifrelevant): \ ake. % Oak A oF Nheou cbelin
Address: _ \Ho\ Hermitage, PluA
Su ik v._\b0

City, State, and Zip Code: “(a \\ahnodee, Fl 92230%

3, Defendant’s Name: WAWw

Name of Employer (if relevant):

Address:

City, State, and Zip Code:

(Provide this information for any additional Defendants in this case by

attaching additional pages as needed.)

IL. BASIS FOR JURISDICTION
Federal courts have limited jurisdiction. Generally, only two types of cases
may be heard in federal court: (1) a case involving a federal question or (2)
case involving diversity of citizenship of the parties. A “federal question”
case arises under the United States Constitution or federal laws or treaties. 28
U.S.C. § 1331. A “diversity” case means a citizen of one State sues a citizen
of another State or nation. No defendant may be a citizen of the same State as

any Plaintiff in a diversity case, and the amount in controversy must be more

NDFI Pro Se 1 (Rev. 12/16) Civil Complaint 3
ClerkAdmin/Official/Farms
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page4of13

than $75,000. 28 U.S.C. § 1332.

What is the basis for federal court jurisdiction? (check all that apply)

w Federal Question o Diversity of Citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question:
List the specific federal statutes, federal treaties, and/or provisions of the

United States Constitution that are at issue in this case: 0\ ewe

See Wade Malenduim

B. If the Basis for Jurisdiction is Diversity of Citizenship:
1. Plaintiffs)

a. Plaintiff is an individual and a citizen of: Wi.

b. If any Plaintiff is a business or corporation, list the State where the

business is incorporated or has its principal

place of business:

(Note: Businesses/Corporations must be represented by counsel.

NDEL Pro Se | (Rev. 12/16) Civil Complaint 4
ClerkAdmin/Official/Farms
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page5of13

Attach additional page to provide this information for additional
Plaintiffs.)
2. Defendant(s)

a. If the Defendant is an individual, identify their citizenship below.

1. Defendant (name) Day: yoo Ny

is a citizen of (State) __ ‘El oa Ko

2. Defendant (name) \ Legacy Awe

is a citizen of (State) Flonkoy

3. Defendant (name) Wi

is a citizen of (State)

b. If the Defendant is a corporation or business, list the state of ©
incorporation or principal place of business below.

1. Defendant (name) Rikon QR, gare \

State of Incorporation is Y\ ori hO

or Principal Place of Business is_~\q\\q a LYE,

2. Defendant (name) _S\che. Prmach We WMowedrehan

State of Incorporation is KA A Io

or Principal Place of Business is 1 alle Ly anvoee,

(Attach additional page if necessary to list all Defendants.)

3. Have you previously been involved in litigation with one or more

NDFL Pro Se | (Rev. 12/16) Civil Complaint 5
ClerkAdmin/Official/Forms
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page6éof13

of the named Defendants?

oYes aoNo

If yes, identify prior case #: \)3033 - 0455 Date: O%sloH4\ 27)
Court: EWSe Byvokuce Chik of Avon

Defendant: Sieoke Povo h ak Wakreueshrak Win

Judge: Os Vhevha 05. Kelavy dé Nor diy

Result: Dae A

il. STATEMENT OF CLAIM
Write a short and plain statement of your claim. Do not make legal
arguments or quote from cases. State the facts which show what happened,
as well as where and when it happened. State how each Defendant was
involved and explain what a Defendant did or did not do; identify how each
Defendant caused you harm or violated federal law. Write each statement in
numbered paragraphs, limited as far as practicable to a single event or
incident. If more than one claim is asserted, number each claim, and ensure
that a short and plain statement of facts supporting each claim is included in
the facts alleged. Attach no more than two (2) additional pages to state your

claim.

Plage ez Md thew J

NDFL Pro Se I (Rev. 12/16) Civil Complaint 6
ClerkAdmin/Official/Forms
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page /7of13

IV. RELIEF REQUESTED
State briefly and precisely what damages or other relief the plaintiff asks the
court to order. Do not make legal arguments. Include any basis for claiming
that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for
these amounts. Include any punitive or exemplary damages claimed, the

amounts, and the reasons you claim you are entitled to actual or punitive

money damages. P| CO G 7 \ \ | | uo

V. CERTIFICATION
As required by Federal Rule of Civil Procedure 11, I certify by signing below
that to the best of my knowledge, information, and belief, this complaint: (1)
is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is

supported by existing law or by a non-frivolous argument for extending,

NDFL Pro Se I (Rev. 12/16) Civil Complaint 7
ClerkAdmin/Official/Forms
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page 8of13

modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint

otherwise complies with the requirements of Rule 11.

I agree to timely notify the Clerk’s Office if there is any change to my
mailing address. I understand that my failure to keep a current address on file

with the Clerk’s Office may result in the dismissal of m

Date: 04 loy los Plaintiff's iene: \
Zao

Printed Name of Plaintiff: WD QAR WCC ead
—

Address: \4 44 12th hard
WO A NOY

E-Mail Address: _(\Cyal 2 @ Gail Com

Telephone Number: bl- LO9-DGO4

(Additional signature pages must be attached if there is more than one

Plaintiff)

NDFL Pro Se ! (Rev. 12/16) Civil Complaint 8
ClerkAdmin/Official/Forms
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page9of13

Plaintiff respectfully invokes the Mailbox Doctrine

FLORIDA NORTHERN DISTRICT ADDENDUM

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case:

1.

Article III of the Constitution, the Supremacy Clause, the Fifth Amendment's Due

Process Clause, and the Equal Protection Clause; Murphy v. Waterfront Comm., 378 U.S. 52,
78{, 84 S.Ct. 1594, 12 L.Ed.2d 678] (1968); See New Jersey v. Portash, 440 U.S. 450[, 99 S.Ct.
1292, 59 L.Ed.2d 501] (1979) and See Washington v. Davis, 426 U.S. 229, 239 (1976).
Garrity v. New Jersey, 385 U.S. 493, 499-500, 87 S. Ct. 616 (1967);United States v.
Friedrick, 842 F.2d 382, 395 (D.C.Cir.1 988); United States v. Camacho, 739 F.Supp. 1
504, 1 514-15 (S.D.Fla.l 990; Kastigar, 406 U.S. at 452-53; United States v. Koon, 4 F.3d
1416,1431 (9th Cir. 1994); See United States v. Veal, 153 F.3d 1233, 1241 n.7 (11"" Cir. 1998),
cert. denied, 526 U.S.1147 (1999).

United States v. Conage, 976 F.3d 1244, 1263 (11th Cir. 2020) (quoting Fla. Const. art.
V, § 3(b)(6)); see also Fla. Stat. § 25.031; Fla. R. App. P. 9.150.Arizonans for Off Eng. v.
Arizona, 520 U.S. 43, 75 (1997); Grayned v. City of Rockford, 408 U.S. 104, 108 (1972);
Skilling v. United States, 561 U.S. 358 (2010) and Black v. United States, 561 U.S. 465
(2011).

The doctrine of Federal Preemption, NERB v. Katz, (369 U.S. 736 (1962); Deina y.
Market Ry. Co., 124 F. 2d 965, 967 (9th Cir. 1942)301 of the Labor Management
Relations Act (LMRA), 29 U.S.C. § 185, and section 502(a) of the Employee Retirement
Income Security Act (ERISA), 29 U.S.C. § 1132(a); See M’Culloch vy. Maryland, 17,
US.316-317 (1819). Cliff v. PaycoGe. Am. Credits, Inc., 363 F.3d 1112, 1122 (11th Cir.

2004; Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947).
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page10of13

5. The doctrines of Void Judgment and Subject Matter Jurisdiction; Elliot v. Piersol, 1

Pet. 328, 340, 26 U.S. 328, 340 (1828); Hobbs v. U.S. Office of Personnel
Management, 485 F.Supp. 456 (M.D. Fla. 1980). Windsor v. McVeigh, 93 U.S. 274

(1876); This That and the Other Gift & Tobacco, Inc. v. Cobb
County, *1342 Ga., 285 F.3d 1319, 1322 (11th Cir.2002) (citations and

internal quotations omitted).

I. STATEMENT OF CLAIM

On September 30, 2006, the Palm Beach County Sheriff's Office Corrections Division entered
into its first Collective Bargaining Agreement with the Palm Beach County Police Benevolent
Association. On March 09, 2007, after thoroughly investigating Plaintiff and others, Palm Beach
County Sheriff’s Office Lieutenant Jones submitted a detailed report to Major Kneisley that
cleared Plaintiff and others of any potentially criminal conduct or administrative wrongdoing. (“.
.. lam of the opinion that no definitive evidence exists which suggests Lt. Darrin McCray . . .
violated C.O.P. 917.24 sec. (C)(4) (6) (7) (Hospital Security Duty) [that is, the Administrative
Policy] . . . or otherwise collectively or single-handedly manipulated the Online Hospital Guard
Duty Program for personal gains.”) To be sure, that report shows (in a table, under the heading
“Finding”) that the allegations against Plaintiff were “inconsequential”. Major Kneisley, who
was Lieutenant Jones’ superior, ratified this report the same day, finding the evidence was “weak

at best.”

In November of 2008, Plaintiff was criminally informed against by the State using the same

information from the March 09, 2007, immunized administrative investigation. The alleged that
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page11o0f13

Plaintiff engaged in an organized scheme to defraud by signing his subordinates, himself and

peers up to work too much hospital overtime guard duty.

On November 21, 2008, Plaintiff was tried and found guilty of Florida Statute § 838.022
(Official Misconduct and Florida 817.34 (Organized Scheme To Defraud, The Florida Fourth
District Court of Appeal case # 4D09-530 dismissed the Organized Scheme to Defraud but
upheld the Official Misconduct. On October 10, 2014, Plaintiff was sentenced to 17.1 months

within the Florida Department of Corrections.

The Florida State Board of Administration illegally seized Plaintiffs retirement pension as a
result of the wrongful conviction based on Florida Statute § 838.022-Offical Misconduct and
§112.3173. Plaintiff filed an appeal in the Florida First District Court of Appeal that was
subsequently denied as untimely. The court denied Plaintiff's motion for a written opinion and
certification of question to Florida Supreme Court. State Actors acting under the color of law
violated Plaintiff's civil rights when arresting him for an alleged that is not crime. These state
actors violated the doctrines violated the Supremacy and Equal Protection when they overlooked
the federal preemption. They violated Plaintiffs fourth, fifth, eighth and fourteenth amendments
by repeatedly denying plaintiff access to the court, illegally seizing his pension wrongfully
convicting him, falsely imprisoning him and wrongfully terminating him for following the

collective bargaining agreement in effect at that time.
Case 4:23-cv-00400-AW-MAF Document1 Filed 09/11/23. Page12o0f13

IV. RELIEF REQUESTED

Plaintiff requests to be made whole by moving this Court certify the question regarding the void,
vagueness, unconstitutionality, arbitrary and capricious and of Florida Statute § 838.022-Offical
Misconduct and §112.3173. Plaintiff respectfully request this Court provide relief in the form of
reinstating his Florida Retirement Pension, receiving all back pay, and compensatory, punitive
and exemplary damages in the amount of twenty million dollars for the ongoing pain suffering,
mental anguish, continual harassment, torture and denial of access to the courts he continues to
experience by those acting under the color of law. Plaintiff will provide documentation if
requested regarding his ongoing mental health therapy as result of PTSD, Post Incarceration
Syndrome, and Depression from being wrongfully terminated, falsely arrested, wrongfully

convicted, falsely imprisoned, humiliated, publically defamed and slandered by state actors.

/s/ DARRIN MCCRAY
By: MCCRAY, DARRIN,
Authorized Representative
To DARRIN MCCRAY
P.O. Box 1172

West Palm Beach, F1 33402
(561) 602-2804
He Hay Hi pies SaEUY prep debs .
EN Case 4:23-Cv 00400 BMAF ee Doc
umen
a : enti” oh Mois of 1 coe = yw
: 3 Cae eS FCN
: : o : : page aoe ee 3 28418
. a 3 pate E23
= ei TA 1: 3g 02 ew
9813300367
| USPS FIRST- LASS MAIL®
|_Ust MGCRAY 4.30 02
RDC 99

NA
PO BOX 1172
WEST PALM BEACH FL 33402-1172

RETURN RECEIPT REQUESTED

SHIP
TO:

CLERK O OURT
FL ERK OFERN ONISTRICT COURT

a 411N
ADAMS ST
TALLAHASSEE FL 32301

USPS CERTIFIED MAIL®

